                Case 23-10831-MFW               Doc 914        Filed 01/17/24        Page 1 of 5




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al., 1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                                      CERTIFICATE OF SERVICE

      I, Michael Villa, depose and say that I am employed by Kurtzman Carson Consultants LLC
(KCC), the claims and noticing agent for the Debtors in the above-captioned case.

        On January 12, 2024, at my direction and under my supervision, employees of KCC caused
to be served the following document via Electronic Mail upon the service list attached hereto as
Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

    •    Fifth Monthly Application of White & Case LLP for Allowance of Compensation and
         Reimbursement of Expenses for the Period November 1, 2023 to and Including
         November 30, 2023 [Docket No. 912]

Dated: January 17, 2024
                                                               /s/ Michael Villa
                                                               Michael Villa
                                                               KCC
                                                               222 N Pacific Coast Highway, 3rd Floor
                                                               El Segundo, CA 90245
                                                               Tel 310.823.9000




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
Case 23-10831-MFW   Doc 914   Filed 01/17/24   Page 2 of 5




                    Exhibit A
                          Case 23-10831-MFW                Doc 914       Filed 01/17/24       Page 3 of 5
                                                               Exhibit A
                                                      Fee Application Service List
                                                       Served via Electronic Mail


          Description                    CreditorName              CreditorNoticeName                       Email
 Counsel to the Official
 Committee of Equity Security                                   Matthew A. Sawyer, Sharon msawyer@brownrudnick.com;
 Holders                          Brown Rudnick LLP             I. Dwoskin                  sdwoskin@brownrudnick.com
 Counsel to the Official                                        Robert J. Stark, Bennett S. rstark@brownrudnick.com;
 Committee of Equity Security                                   Silverberg, Michael S.      bsilverberg@brownrudnick.com;
 Holders                          Brown Rudnick LLP             Winograd                    mwinograd@brownrudnick.com
 Debtors                          Lordstown Motors Corp.        Attn: Adam Kroll            Email Redacted
 Counsel to the Official
 Committee of Equity Security                                   Eric J. Monzo, Brya M.     emonzo@morrisjames.com;
 Holders                          Morris James LLP              Keilson                    bkeilson@morrisjames.com
                                  Office of the United States                              USTPRegion03.WL.ECF@USDOJ.GOV;
 US Trustee for District of DE    Trustee Delaware              Benjamin Hackman           benjamin.a.hackman@usdoj.gov
 Counsel to the Official
 Committee of Unsecured           Troutman Pepper Hamilton David M. Fournier, Tori L.      david.fournier@troutman.com;
 Creditors                        Sanders LLP              Remington                       tori.remington@troutman.com
 Counsel to the Official
 Committee of Unsecured           Troutman Pepper Hamilton
 Creditors                        Sanders LLP              Deborah Kovsky-Apap             deborah.kovsky@troutman.com
 Counsel to the Official
 Committee of Unsecured           Troutman Pepper Hamilton
 Creditors                        Sanders LLP              Francis J. Lawall               francis.lawall@troutman.com
 Counsel to the Official
 Committee of Unsecured           Troutman Pepper Hamilton
 Creditors                        Sanders LLP              Sean P. McNally                 sean.mcnally@troutman.com
 Co-Counsel for the Debtors
 and Debtors-in-Possession        White & Case LLP              David M. Turetsky          david.turetsky@whitecase.com
 Co-Counsel for the Debtors
 and Debtors-in-Possession        White & Case LLP              Jason N. Zakia           jzakia@whitecase.com
                                                                                         rkampfner@whitecase.com;
 Co-Counsel for the Debtors                                     Roberto Kampfner, Doah   doah.kim@whitecase.com;
 and Debtors-in-Possession        White & Case LLP              Kim, RJ Szuba            rj.szuba@whitecase.com
                                                                                         tlauria@whitecase.com;
 Co-Counsel for the Debtors                                     Thomas E Lauria, Matthew mbrown@whitecase.com;
 and Debtors-in-Possession        White & Case LLP              C. Brown, Fan B. He      fhe@whitecase.com
 Local Co-Counsel for the
 Debtors and Debtors-in-          Womble Bond Dickinson         Donald J. Detweiler,       don.detweiler@wbd-us.com;
 Possession                       (US) LLP                      Morgan L. Patterson        morgan.patterson@wbd-us.com




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                         Page 1 of 1
Case 23-10831-MFW   Doc 914   Filed 01/17/24   Page 4 of 5




                    Exhibit B
                                            Case 23-10831-MFW             Doc 914    Filed 01/17/24      Page 5 of 5
                                                                            Exhibit B
                                                                   Fee Application Service List
                                                                    Served via First Class Mail

                     Description                   CreditorName           CreditorNoticeName       Address1 Address2        City    State Zip
                                            Office of the United States                           844 King St
            US Trustee for District of DE   Trustee Delaware              Benjamin Hackman        Ste 2207    Lockbox 35 Wilmington DE   19801




In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                                     Page 1 of 1
